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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

       v.                                              Case No. 23-CR-188 (CRC)

ALEXANDER HAMILTON

                                  STATEMENT OF OFFENSE

       For purposes of Federal Rule of Criminal Procedure l l(b)(3) and to assist in the

determination of the applicable Sentencing Guidelines, the parties stipulate to the following:

    I. On September 9, 2022, the defendant Alexander Hamilton was sworn in as a grand juror

       on a Superior Court of the District of Columbia Grand Jury panel. That grand jury, which

       was referred to as the "September 2" panel was scheduled to sit until October 14, 2022.

   2. On September 9, 2022, Hamilton was read a charge by the Honorable Jennifer Di Toro,

       who was Acting Chief Judge at the time, which stated, in relevant part, the following:

            Your proceedings are secret and must remain secret permanently unless and until
            the court determines that the proceedings should be revealed in the interests of
            justice. You must be careful to preserve the secrecy of your proceedings by
            abstaining from communicating with your family or friends or any other person
            concerning matters, which transpire in the Grand Jury room. You may discuss
            these matters only amongst yourselves.

   3. Additionally, as a grand juror, on September 9, 2022, Hamilton took an oath stating that he

       would keep secret the grand jury proceedings during his term of service.

   4. At the time of taking the oath, Hamilton recorded himself with his cell phone, looked down

       at the phone, and stated, "I'm about to lie."

   5. For the term of his grand jury service, Hamilton proceeded to bring his phone with him

       into the grand jury room, despite being instructed that he was forbidden to do so.
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6. Hamilton recorded grand jury witness testimony on September 27 and 30, as well as

   October 3, 4, 5, 6, 7, 11, and 12. Hamilton filmed the presentation of at least 14 different

   grand jury investigations and at least 18 different witnesses. Hamilton recorded witness

   testimony in serious violent crime investigations, including multiple homicide

   investigations.

7. Hamilton publicized the videos of grand jury testimony in at least three different mediums:

   (1) he sent videos of grand jury testimony via text or instant message to friends and

   associates; (2) he posted videos of grand jury testimony to his Instagram story; and (3) he

   broadcasted the videos live as he filmed them via Instagram live. At the time, Hamilton

   had a public Instagram profile with over 10,000 followers.

8. Overlaying the videos themselves or in messages discussing the videos, Hamilton regularly

   called the witnesses derogatory names, such as "rats" and "snitches."

9. While the camera was typically pointed at Hamilton's face or at his notes, videos posted

   by Hamilton revealed the identity of grand jury witnesses and, on at least one occasion,

   showed a grand juror's face, albeit from far away. Specifically, in that video taken on

   October 6, 2022, and shared via text message, Hamilton filmed the face of a grand jury

   witness from afar and audibly called the witness a "vicious rat."

10. On October 11, 2022, Hamilton filmed the presentation of witnesses in four separate

   investigations. Hamilton broadcasted some of this testimony live on his Instagram. For

   other testimony, Hamilton posted the videos on his Instagram story and overlayed the

   images with photographs of rats.

11. Additionally, on October 11, 2022, Hamilton posted an Instagram story where a witness

   was asked by prosecutors about a recorded jail call made by that witness, and Hamilton




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   recommended that his followers not speak on jail calls by overlaying the video with text to

   that effect.

12. Hamilton knew, when he disclosed these videos, that doing so violated the grand jury

   secrecy rules and the Chief Judge's instructions. Hamilton also knew that calling witnesses

   derogatory names and revealing their identities on his public Instagram could pose a

   security risk to witnesses, could discourage others from testifying as witnesses, or could

   otherwise impede the grand jury investigations.

                                                Sincerely,

                                                MATTHEW M. GRAVES
                                                United States Attorney
                                                D.C. Bar No. 481052




                                            By:/s/Joshua Gold
                                               Joshua Gold
                                               Assistant United States Attorney




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                                DEFENDANT'S ACCEPTANCE

         I have read the foregoing statement of offense, and I have discussed it fully with my
attorney, Ned Smock. I fully understand this proffer and I acknowledge its truthfulness, agree to
it, and accept it without reservation. I do this voluntarily and of my own free will. No threats have
been made to me nor am I under the influence of anything that could impede my ability to
understand this proffer fully.



Date:? . J ` a'3
                                      Alexan er Hamilton
                                      Defendant


                              ATTORNEY'S ACKNOWLEDGMENT
        I have read every page constituting the government's statement of offense related to my
client's guilty plea. I have reviewed the entire proffer with my client and have discussed it with
her fully. I concur in my client's agreement with and acceptance of this proffer.


Date:      / 5J3
                                      Ned Smoc
                                      Counsel for Defendant Alexander Hamilton
